Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                          Document Page 1 of 11
Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                          Document Page 2 of 11
Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                          Document Page 3 of 11
Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                          Document Page 4 of 11
Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                          Document Page 5 of 11
Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                          Document Page 6 of 11
Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                          Document Page 7 of 11
Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                          Document Page 8 of 11
Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                          Document Page 9 of 11
       Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47     Desc: Main
                                 Document Page 10 of 11


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JONATHAN ARROYO-MUÑIZ             BANCO POPULAR                    CRIM
AVE ESTACION 438                  PO BOX 362708                    BANKRUPTCY DIVISION
ISABELA, PR 00662                 SAN JUAN, PR 00936               PO BOX 195387
                                                                   SAN JUAN, PR 00919


MIRIAM LOZADA RAMIREZ             BANCO SANTANDER                  DEPARTMENT OF TREASURY
MIRIAM LOZADA RAMIREZ             ATTN. BANKRUPTCY DEPT.           BANKRUPTCY SECTION (424-B)
URB PASEO LOS ROBLES              P.O. BOX 362589                  P.O. BOX 9024140
3020 JOSE MONGE                   SAN JUAN, P. 00936-2589          SAN JUAN, PR 00902-4140
MAYAGUEZ, PR 00682-2000

AAA                               CALIDAD AUTO SALES               DEPARTMENT OF LABOR
P.O.BOX 7066                      PO BOX 50
SAN JUAN, PR 00916                VEGA BAJA, PR 00694



ACCEPTANCE NOW                    CASH MAX                         DTOP
5501 HEADQUARTERS DRIVE           877 AVE HOSTOS                   P O BOX 41269
PLANO, TX 75024                   SUITE 2                          SAN JUAN, PR 00940
                                  MAYAGUEZ, PR 00682


ATT                               CITIFINANCIAL                    INTERNAL REVENUE SERVICE
POB 192830                        300 SAINT PAUL PL                BANKRUTPCY DEPT
SAN JUAN, PR 00919-2830           BALTIMORE, MD 21202              PO BOX 7346
                                                                   PHILADELPHIA, PA 19101-7346


AUTO PAWN                         CLARO                            ISUANNETTE ORTIZ
                                  PO BOX 360998
                                  SAN JUAN, PR 00936



AUTORIDAD ACUEDUCTOS              COOP A/C DE AGUADA               LA FAMILIA
PO BOX 70101                      PO BOX 543
SAN JUAN, PR 00936                AGUADA, PR 00602



AUTORIDAD DE ENERGIA           COOP AGUADA                         MCKENZIE CAPITAL LLC
MARIA GORBEA BANKRUPTCY CLAIMS BOX 543                             3390 MARY STREET SUITE 216
PO BOX 363928                  AGUADA, PR 00602                    MIAMI, FL 33133
SAN JUAN, PR 936


AUTORIDAD DE ENERGIA ELECTRICA COOP DE ISABELA                     OFFICE OF US TRUSTEE
ATTN MARIA GORBEA              BOX 552                             500 TANCA ST
GPO BOX 363928                 ISABELA, PR 00662                   SUITE 301
SAN JUAN, PR 00936                                                 SAN JUAN, PR 00901-1922
     Case:19-00247-EAG11 Doc#:26 Filed:02/14/19 Entered:02/14/19 12:35:47   Desc: Main
                               Document Page 11 of 11




OFFICE US TRUSTEE
PO BOX 530202
ATLANTA, GA 30353-0200



POPULAR AUTO
 PO BOX 50045
SAN JUAN, PR 00902-6245



RELIABLE FINANCIAL SERVICES
PO BOX 21382
SAN JUAN, PR 00928



RENT A CENTER
16005 CARR 2 SUITE 50
AGUADILLA, PR 00603



SAMS CLUB
P O BOX 960023
ATLANTA, GA 30353-0942



SECRETARIO DEPARTAMENTO DEL TRABAJO
P O BOX 71592
SAN JUAN, PR 00936



UNVERSAL INS CO
PO BOX 9023862
SAN JUAN, PR 00902-



VEHICLE ACCEP CORP
4144 N CENTRAL EXPY STE
DALLAS, TX 75204



WESTLAKE FINANCIAL SERVICES
4751 WILSHIRE BLVD SUITE 100
LOS ANGELES, CA 90010
